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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

In re MICHELE L. AMES,                               :       Chapter 13
                                                     :
                      Debtor                         :       Bky. No. 21-12125 ELF
                                                     :
__________________________________________

                                         ORDER

       AND NOW, upon consideration of the Debtor’s Motion to Dismiss Case, and after a

hearing, and for the reasons stated in court, it is hereby ORDERED that:

   1. Subject to Paragraphs 3-5 below, the Motion is GRANTED.

   2. This bankruptcy case is DISMISSED.

   3. The Debtor is PROHIBITED from filing another bankruptcy case without first filing a

       MOTION docketed in this bankruptcy case REQUESTING LEAVE OF COURT to

       file and RECEIVING PERMISSION from the court to file the new case.

   4. In the event that the Debtor attempts to file a bankruptcy case in violation of this order,

       THE CLERK IS INSTRUCTED NOT TO DOCKET THE BANKRUPTCY

       PETITION, but instead to deliver the papers immediately to the assigned bankruptcy

       judge for appropriate action.

   5. The prohibition set forth in Paragraph 2 shall EXPIRE at 11:59:59 p.m. on June 29,

       2023.




Date: June 30, 2022                    ____________________________________________
                                       ERIC L. FRANK
                                       U.S. BANKRUPTCY JUDGE
